
209 P.3d 381 (2009)
228 Or. App. 744
STATE of Oregon, Plaintiff-Respondent,
v.
Raymond Leonard PAWLOWSKI, Defendant-Appellant.
05C44149; A129038.
Court of Appeals of Oregon.
On Respondent's Petition for Reconsideration March 19, 2009.
Decided May 27, 2009.
John R. Kroger, Attorney General, Erika L. Hadlock, Acting Solicitor General, and Paul L. Smith, Assistant Attorney-in-Charge, Criminal Appeals, for petition.
Before LANDAU, Presiding Judge, and SCHUMAN, Judge, and ORTEGA, Judge.
Prior report: 221 Or.App. 227, 190 P.3d 387.
PER CURIAM.
The state petitions for reconsideration of our decision in this case. In that decision, we concluded that, based on the Oregon Supreme Court's decision in State v. Ice, 343 Or. 248, 170 P.3d 1049 (2007), rev'd and rem'd, ___ U.S. ___, 129 S.Ct. 711, 172 L.Ed.2d 517 (2009), the trial court's imposition of consecutive sentences based on its own findings of fact was plain error. The state now argues that, in light of the United States Supreme Court's reversal of the Oregon court's decision, we should reconsider. We agree. Under the United States Supreme Court's decision, the imposition of consecutive sentences was not error.
Reconsideration allowed; former opinion modified and adhered to as modified; former disposition withdrawn; affirmed.
